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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 9:24-cv-80958-AMC

  TERCILMENE MONERA,

         Petitioner,
  v.

  EVENS DATIS,

         Respondent.
                                        /

        PETITIONER TERCILMENE MONERA’S OMNIBUS MOTION IN LIMINE

         Petitioner, Tercilmene Monera (“Petitioner”), by and through undersigned counsel, and

  pursuant to Federal Rules of Evidence 401, 402, and 403, respectfully moves this Court in limine

  to enter an Order precluding Respondent, Evens Datis (“Respondent”), Respondent’s counsel, and

  any witnesses called by Respondent from making any mention, directly or indirectly, in any manner

  whatsoever as follows:

         MIL No. 1.      Preclude Child from Testifying;

         MIL No. 2.      Preclude Pre-July 2022 Photographs and Videos;

         MIL No. 3.      Preclude Testimony about Respondent Being a Good Father;

         MIL No. 4.      Preclude Child’s Hearsay Statements;

         MIL No. 5.      Preclude Lay Opinion Testimony of Medical Diagnosis and Causation.

   I.    Preliminary Statement

         This case was previously set for an Evidentiary Hearing on November 14-15, 2024, which

  the Court cancelled [ECF No. 53]; nevertheless, an evidentiary hearing will likely be had at a future

  date (“Evidentiary Hearing”). On August 7, 2024, Petitioner filed her Verified Petition for Return

  of Minor Child to Brazil and Request for Issuance of Show Cause Order (“Petition”) pursuant to
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  the Hague Convention on the Civil Aspects of International Child Abduction (“Convention”) and

  the International Child Abduction Remedies Act. [ECF No. 1]. In her Petition, Petitioner alleges

  (1) that Respondent violently abducted the Parties’ then-three-year-old daughter, H.E.D. (“Child”)

  from Petitioner, (2) that Respondent wrongfully removed the Child from Brazil, (3) that the Child’s

  habitual residence immediately before the wrongful removal was Brazil, (4) that Respondent’s

  wrongful removal of the Child from Brazil breached Petitioner’s custody rights under Brazilian

  law, (5) that Respondent wrongfully retained the Child in the United States of America, and (6) that

  Petitioner was exercising her custody rights over the Child at the time of Respondent’s wrongful

  removal. Id. Petitioner also included allegations surrounding her prior relationship with Respondent

  including, for example, that Respondent had physically and emotional abused Petitioner, for

  background to explain to the Court how the Parties’ relationship fell apart.

          On September 23, 2024, Respondent filed his initial Response to Petition Petition [sic] for

  Return of Minor Child to Brazil (“Response”)1 and alleged eight purported defenses to the Petition:

  (1) Respondent did not wrongfully detain the Child;2 (2) grave risk of harm regarding Petitioner’s

  neighborhood; (3) grave risk of harm regarding Petitioner’s ex-boyfriend; (4) the Child is well-

  settled in the United States; (5) Respondent and Child are not subject to immediate removal from




  1
   Respondent filed an Amended Response on October 14, 2024 (“Amended Response”). [ECF No.
  46, 47].
  2
    In this defense, Respondent appears to admit that he did detain the Child and his defense may be
  that doing so was not “wrongful.” Specifically, Respondent states: “[Respondent] was so shocked
  when he found out that the child had suffered a broken clavicle while in the [Petitioner’s] custody
  that he could not in good conscience return the Child to that environment without addressing
  Petitioner’s boyfriend’s violent assault on the Child. Because [Respondent] had previously
  planned to leave Brazil, [Respondent] had to take [the Child] with him.” [ECF No. 32, 33].
  Petitioner disputes that the Child suffered a broken clavicle while in her possession and disputes
  that her ex-boyfriend violently assaulted the Child.

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  the United States;3 (6) Equitable tolling is not applicable; (7) Petitioner is not credible;4 and (8)

  Respondent’s due process rights are violated.5 [ECF No. 32, 33, 34, 46, 47]. The Court is not

  determining custody rights. The Court is not determining immigration rights. The Court is

  determining whether the child should be sent back to their habitual residence so that the child’s

  place of habitual residence may determine rights of custody. See generally Abbott v. Abbott, 560

  U.S. 1, 9 (2010); Bocquet v. Ouzid, 225 F. Supp. 2d 1337, 1340 (S.D. Fla. 2002) (The Court “only

  has jurisdiction to decide the merits of the wrongful removal claim.”). The only issue in this case is

  whether Petitioner is entitled to have the Child returned to Brazil such that a court of competent

  jurisdiction can determine custody. See In re Leslie, 377 F. Supp. 2d 1232, 1238 (S.D. Fla. 2005).

           Once the Petitioner has proven all of the elements, then the Court may consider the

  Respondent’s defenses. If the Respondent’s defenses are unavailing—which they are—then the

  Court must rule in Petitioner’s favor. However, even if the Court finds that Respondent succeeds

  on a defense, the Court has discretion to order the return of the Child if it would further the aims of

  the Hague Convention. See Horacius v. Richard, 2024 WL 996097, at *4 (S.D. Fla. Mar. 7, 2024).

           Petitioner anticipates Respondent will seek to introduce evidence and elicit testimony that

  is irrelevant and/or the introduction of which would be unfairly prejudicial to Petitioner because

  any purported probative value would be substantially outweighed by: (1) a danger of unfair

  prejudice; (2) confusion of the issues; (3) unduly delaying the Evidentiary Hearing; and/or (4)

  wasting time. Petitioner also anticipates Respondent will seek to introduce unreliable evidence and

  testimony not based on personal knowledge. Respondent should be precluded from presenting this



  3
      This is not an enumerated defense. See Convention Art. 13(b) & 20.
  4
      This is not an enumerated defense. See Convention Art. 13(b) & 20.
  5
      This is not an enumerated defense. See Convention Art. 13(b) & 20.

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  kind of evidence at the Evidentiary Hearing and Petitioner respectfully requests that the Court grant

  Petitioner’s Omnibus Motion in Limine, and exclude such evidence and testimony pursuant to the

  Federal Rules of Evidence 401, 402, 403, 604, 701, 801, 802, 803, 804, and 805.

      II.   Motion in Limine No. 1: Preclude Child from Testifying

            Petitioner requests this Court preclude the Child from testifying entirely (whether live or in

  camera) at the Evidentiary Hearing. The Child was three years old at the time she was abducted by

  Respondent and wrongfully removed from Brazil. The Child has been isolated from Petitioner for

  over two years and is currently five years old. The Respondent lists the Child on his witness list and

  includes statements in his Response indicating how the Child will testify at the Evidentiary Hearing,6

  but this Court should preclude the Child from testifying at the Evidentiary Hearing because the

  Child lacks maturity and because her statements are unreliable.

            The Child should not be permitted to testify because there is no reason for the Court to

  receive testimony from a child unless the “mature child defense” is raised and Respondent has not

  raised the defense. See, e.g., De la Riva v. Soto, 183 F. Supp. 3d 1182, 1999 (M.D. Fla. 2016) (“A

  court may decline to order a child’s return where the respondent shows, by a preponderance of the

  evidence, ‘that the child objects to being returned and has attained an age and degree of maturity at

  which it is appropriate to take account of its views.’”) (citations omitted). Assuming, arguendo, the

  defense was raised, which it was not, the Child was three years old when she was abducted by the

  Respondent on July 17, 2022 and she is currently five years old. While the Convention does not

  provide a specific criteria for assessing maturity, Petitioner is unable to find any case law where a

  court considered the testimony (whether live or in camera) of a five year old child who was three

  at the time of abduction. See, e.g., Soto, 183 F. Supp. 3d at 1200 (recognizing that seven is too



  6
      See [ECF No. 33, ¶ 5].

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  young for the child’s wishes to be taken into consideration); Lopez v. Alcala, 547 F. Supp. 2d 1255,

  1259 (M.D. Fla. 2008) (finding that at seven years old, the child has not reached the age and degree

  of maturity); Gallardo v. Orozco, 954 F. Supp. 2d 555, (W.D. Tex. 2013) (Court met with eight

  year old child in camera and determined she was not of sufficient age and maturity for the Court to

  take into account her objection to being returned to Mexico); contra Ago v. Odu, 2009 WL 2169857,

  at *13 (M.D. Fla. July 20, 2009) (child deemed mature at fourteen years of age due to turn fifteen

  in less than three months).

          The Child should not be permitted to testify because she has been alienated and isolated

  from Petitioner for over two years and there is a significant risk that Respondent has influenced her

  testimony. This Court should take great care to ensure that a child’s preference to remain in the

  nonhabitual country has not been unduly influenced by the parent who currently has custody and

  wrongfully retained her. See Soto, 183 F. Supp. 3d at 1200 (recognizing that, even if the court was

  to take the seven-year-old child’s wishes or objections into account, “the Court would have

  concerns that any such ‘wishes’ or ‘objections’ had been influenced, even if indirectly, by

  Respondent, under whose care [the child] has been living for more than two years.”); In re S.L.C.,

  4 F. Supp. 3d 1338, 1349-50 (M.D. Fla. 2014) (finding the child’s opinion on returning to Mexico

  was not conclusive when the child was twelve years old and had been under the exclusive custody

  of respondent for an extended period of time); Walker v. Walker, 2013 WL 1110876, at *12 (N.D.

  Ill. Mar. 16, 2013) (“court must take care not to give significant weight to a child's views if the

  child has been unduly influenced by the respondent parent.”). In this case, the Child has been

  isolated and alienated from Petitioner for over two years. Notwithstanding the fact that the Child

  is merely five years old, this Court should not allow her to testify.




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   III.   Motion in Limine No. 2: Preclude Pre-July 2022 Photographs and Videos

          Petitioner requests the Court exclude from the Evidentiary Hearing any of Respondent’s

  photographs and videos that pre-date July 2022 (when Respondent wrongfully retained the Child),

  including, without limitation, the photographs of the “Petitioner, Respondent, and Child in

  amusement parks” attached as Exhibit F to the Response, the additional “pictures and videos7 from

  a surprise birthday Party Respondent threw for [Petitioner] in September 2021” referenced in the

  Response and attached as Exhibit F, and any other photo and/or video evidence from before July

  2022 (“Pre-July 2022 Photo and Video Evidence”). According to Respondent, the Pre-July 2022

  Photo and Video Evidence will be used to deny Petitioner’s abuse allegations against Respondent,

  and implies that the Pre-July 2022 Photo and Video Evidence support that Petitioner’s “abuse

  allegations are completely false and clearly concocted as a ploy to bolster an otherwise weak

  petition.” [ECF No. 32, 33 ¶ 16]. The Pre-July 2022 Photo and Video Evidence must be excluded

  from the Evidentiary Hearing because (1) the evidence is irrelevant to either the claims in the

  Petition or the defenses in the Response; (2) the evidence could only prejudice the Court and

  prolong trial; and (3) the evidence should not be permitted to divert the Court’s attention from its

  limited review. See Fed. R. Evid. 401-403; see also ECF No. 32, 33, Composite Exhibit F; ECF

  No. 34, 35, 36, 37.

          Petitioner’s counsel anticipates that Respondent will try to use the Pre-July 2022 Photo and

  Video Evidence to argue that Respondent did not abuse Petitioner. The Pre-July 2022 Photo and

  Video Evidence is irrelevant to Petitioner’s case-in-chief because it does not tend to prove or

  disprove that Respondent wrongfully removed the Child from her habitual place of residence



  7
    On or around October 25, 2024, Petitioner’s counsel received a USB thumb drive from
  Respondent’s counsel with four (4) videos. Undersigned is not sure whether Respondent’s counsel
  complied with ECF No. 37 and conventionally filed the CD-ROMs with the Clerk’s Office.

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  immediately before the wrongful removal or whether Petitioner was exercising her custody rights

  under Brazilian law at the time of the wrongful removal. See Hague Convention, Arts. 3-4; Gatica

  v. Martinez, 2010 WL 6744790, *1 (S.D. Fla. Oct. 13, 2010); In re Ahumada Cabrera, 323 F. Supp.

  2d 1303, 1310 (S.D. Fla. 2004); Spica v. Viera, 2020 WL 13401916, *4 (S.D. Fla. June 22, 2020).

          The Pre-July 2022 Photo and Video Evidence is irrelevant to any of Respondent’s defenses

  under the Convention and must be excluded. Respondent cites to the Pre-July 2022 Photo and Video

  Evidence in his defense that “Petitioner is not credible.” [ECF No. 32, ¶ 16]. This is not a legitimate

  or enumerated defense under the Convention. See Convention Art. 13(b) & 20; see Soto, 183 F.

  Supp. 3d at 1187, n.7 (the Court determines the credibility of the witnesses as the finder of fact).

  Notwithstanding, the Pre-July 2022 Photo and Video Evidence does not tend to prove or disprove

  Petitioner’s credibility. That Respondent allegedly threw Petitioner a surprise birthday party over

  three years ago (in September 2021), or accompanied Petitioner and the Child to an amusement

  park at the end of 2022 is inconsequential to whether or not Respondent mentally or physical

  abused Petitioner. The mere fact that Respondent has pictures and videos with Petitioner and the

  Child (where the Petitioner and Child are smiling) does not prove or disprove that Respondent

  abused Petitioner or discredit Petitioner’s credibility. Using photographs of someone smiling to

  prove there was no abuse is no different than a burglar using the money he steals for altruism, or a

  human trafficker feeding its victim. Assuming, arguendo, Respondent intends to use the Pre-July

  2022 Photo and Video Evidence for any appropriate defenses under the Convention, the evidence

  must still be excluded because the evidence does not speak to either the grave risk of physical or

  psychological harm defense or the well-settled defense. These photos and videos prove nothing and

  are not relevant to this Court’s analysis under the Convention.

          The Pre-July 2022 Photo and Video Evidence is not relevant to any claims or enumerated



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  defense in this action and will only prejudice the Court and Petitioner, prolong trial, and divert the

  Court’s attention from the appropriate review making it inadmissible at the Evidentiary Hearing.

  See Fed. R. Evid. 401 & 402 (To be admissible, evidence must be relevant–it must have the

  tendency to make the existence of any fact that is of consequence to the determination of the action

  more or less probable. Thus, evidence that is irrelevant is inadmissible.). The Court should not

  allow Respondent’s Pre-July 2022 Photo and Video Evidence to pollute consideration of the

  Petition. Accordingly, Respondent should be precluded from entering into evidence or eliciting

  testimony regarding the Pre-July 2022 Photo and Video Evidence at the Evidentiary Hearing.

   IV.    Motion in Limine No. 3: Preclude Character Testimony

          Petitioner requests this Court prohibit Respondent, Respondent’s counsel, and/or any of

  Respondent’s witnesses from making any mention, directly or indirectly, in any manner

  whatsoever, concerning statements about Respondent’s character and/or reputation as a “good

  father” to the Child. This evidence is irrelevant to any of the claims or defenses in this lawsuit and

  has no probative value.

          Petitioner anticipates that Respondent, Respondent’s counsel, or Respondent’s witnesses

  will testify about the Respondent’s character and/or reputation as a “good father” to the Child

  (notwithstanding that he violently abducted the Child and has isolated the Child from Petitioner

  since July 17, 2022). For example, although the document itself is hearsay, included within Exhibit

  B to the Response is a note from the Child’s doctor in Florida, dated September 16, 2024, stating

  “[Child] has always been brought by her father, Mr. Evins [sic] Datis. This is documented in every

  visit note.” [ECF No. 33].8 To the extent Respondent seeks to offer any character or reputation




  8
    Of course, the pediatrician may not be aware that Respondent wrongfully removed the Child
  from her habitual residence in Brazil without the Petitioner’s approval and that the Petitioner

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  evidence related to his ability to be a good, capable, adequate, or stable father, whether through

  documents or witness testimony, this Court should exclude same because it is irrelevant, provides

  no probative value, and is unduly prejudicial. The only issue in this case is whether Petitioner is

  entitled to have the Child returned to Brazil such that a court of competent jurisdiction can

  determine custody. See In re Leslie, 377 F. Supp. 2d at 1238. Any evidence of Respondent’s ability

  to be a good, adequate, or stable father is irrelevant, and therefore inadmissible, as it has no

  tendency to prove or disprove a fact of consequence to the Petition. See FED. R. EVID. 401, 402.

  Similarly, any evidence of Respondent’s ability to be a good or adequate father is also irrelevant

  to Respondent’s defenses, and therefore inadmissible. See id. As any such evidence, whether

  character, reputational, or other, regarding Respondent’s ability to be a good, adequate, stable, or

  present father likewise has no has no tendency to prove or disprove a fact of consequence related

  to the elements of Respondent’s raised affirmative defenses. See id.

          At best, the evidence would relate to Respondent’s “well-settled” defense, but even then it

  has no probative value. A child is well-settled when their “nontransitory life in [her] new country”

  is to “such a degree that return would be to the child’s detriment.” Fernandez v. Bailey, 909 F.3d

  353, 361 (11th Cir. 2018). While the Court may consider factors such as the child’s living

  environment, parental involvement, residential stability, and parental employment and financial

  stability, it may also consider measures taken to conceal a child’s whereabouts and the “court must

  take care not to give significant weight to a child’s views if the child has been unduly influenced

  by the respondent parent.” Walker, 2013 WL 1110876, at *12. Evidence regarding Respondent’s

  purported character or reputation as a good father is not determinative of how “well settled” the




  cannot legally attend the doctor’s appointments because she cannot get to the United States and
  she didn’t know where her Child was living until recently.

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   Child is, nor is it the role of this Court to determine the ability of Petitioner or Respondent to parent

   the Child. This Court “only has jurisdiction to decide the merits of the wrongful removal claim.”

   Bocquet, 225 F. Supp. 2d at 1340.

           Evidence related to the Respondent being a good father to the Child should be excluded

   because it is irrelevant to any claim or defense in this lawsuit and because it has no probative value,

   and even if it did, the probative value would be outweighed by a danger of unfair prejudice,

   confusion of issues, and wasting time.

   V.      Motion in Limine No. 4: Preclude Child’s Hearsay Statements

           Petitioner requests this Court prohibit Respondent, Respondent’s counsel, and/or any of

   Respondent’s witnesses from making any mention, directly or indirectly, in any manner

   whatsoever, concerning statements made by the Child because those statements are hearsay, do not

   fall into any hearsay exception, would have a substantial influence on the outcome of this lawsuit,

   and are, therefore, inadmissible.9 See Fed. R. Evid. 801, 802, 807; see U.S. v. Christopher, 923 F.2d

   1545, 1551 (11th Cir. 1991).

           Petitioner anticipates that Respondent, Respondent’s counsel, or Respondent’s witnesses

   will testify regarding statements that the Child made to them. For example, Respondent includes a

   footnote in his Response indicating that “[b]oth the Respondent and the child will testify that as

   soon as the child came to him on July 17, 2022, she complained about a severe pain in her shoulder

   and that the mother’s boyfriend pushed her to the ground during an argument with her mother.”

   [ECF No. 33]. Respondent should not be permitted to testify about any statements the Child made

   to him because these statements are hearsay and inadmissible. Additionally, any statements that the



   9
     Petitioner separately requests that this Court prohibit the Child herself from testifying (Section
   II, supra) and this specific Motion in Limine relates to third parties testifying as to the Child’s
   statements to them.

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   Child may have made to the Respondent between July 17, 2022—when the Respondent violently

   abducted and then wrongfully retained the Child—and present day are tainted because the

   Respondent isolated the Child from Petitioner. See Soto, 183 F. Supp. 3d at 1200; In re S.L.C., 4

   F. Supp. 3d at 1349-50. Additionally, if Respondent is permitted to testify regarding statements that

   the Child made to him, Petitioner is unduly prejudiced by not being able to cross examine the

   hearsay declarant to the same extent as if she testified. Petitioner does not believe it would be

   appropriate for the Child to testify, but it is also not appropriate for Respondent to be permitted to

   testify with hearsay statements from the Child who was violently abducted, wrongfully retained,

   and isolated from the Petitioner for over two years.

           This Court should be concerned about the reliability of any alleged statements made by the

   Child to Respondent due to the high likelihood of undue influence based on many factors,

   including, without limitation, that the Child was three at the time she was abducted and isolated

   from Petitioner, Respondent concealed his and the Child’s whereabouts from Petitioner,

   Respondent prohibited Petitioner from contacting the Child, and the Child has only spent time with

   the Respondent for over two of the mere five years of her life. The strong, unmitigated risk of undue

   influence makes any alleged statements by the Child unreliable.

           The Court should not allow Respondent, Respondent’s counsel, or Respondent’s lay

   witnesses to testify or otherwise present evidence about any statements made by the Child to them

   because those statements are hearsay for which no exception can possibly apply and are highly

   unreliable given the circumstances.

   VI.     Motion in Limine No. 5: Preclude Lay Opinion Testimony of Medical Diagnosis

           Petitioner requests this Court prohibit Respondent, Respondent’s counsel, and/or any of




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   Respondent’s lay witnesses10 from making any mention, directly or indirectly, in any manner

   whatsoever, concerning the Child’s medical diagnosis, treatment, or causation related to her alleged

   clavicle injury. Lay opinions are not permitted on topics that require special knowledge, skill,

   experience, or training. See Fed. R. Evid. 701. Only qualified medical experts may opine about

   medical causation—not lay witnesses. See Fed. R. Evid. 702. Not all lay witnesses who testify in

   this action may understand the scope of proper lay testimony without clear direction from this Court.

   To prevent improper evidence from being introduced, Petitioner moves this Court to exclude

   testimony by any lay witness as to the diagnosis, treatment, and/or causation of the Child’s alleged

   clavicle injury and to rule that lay witnesses be instructed not to make any such statements while

   testifying at the Evidentiary Hearing.

             Petitioner anticipates that Respondent, Respondent’s counsel, or Respondent’s witnesses,

   will opine on the Child’s clavicle injury and that Respondent will use this alleged injury to discredit

   the Petitioner’s care for her Child. In his Response, Respondent alleged that Petitioner’s former

   boyfriend pushed the Child and caused a clavicle fracture. [ECF No. 33]. In her Petition, Petitioner

   alleged that the Child’s clavicle was dislocated; and Respondent—who had abducted the Child from

   Petitioner—stated that the Child’s clavicle was fractured. Id. Respondent states that the fact that

   Petitioner did not know whether the Child’s clavicle was dislocated or fractured “shows that she

   did not care to find out why the child complained of pain as soon as she reached him [sic].” Id.11



   10
        Respondent has not identified any expert witnesses.
   11
     Respondent violently abducted the Child from Petitioner’s arms on July 17, 2022 and, that same
   day, allegedly took the Child to the hospital. The Petitioner later learned about the Child’s injuries
   and believes that the Child was injured as a result of the Respondent violently abducting the Child
   on July 17, 2022. Respondent blocked Petitioner from all communication with the Child since July
   17, 2022 when he abducted the Child. Respondent’s assertion that that Petitioner’s lack of
   knowledge of the extent of the Child’s injuries is somehow an indication of a lack of care is entirely
   misguided; Petitioner had no way of finding out the true extent of the injuries Respondent inflicted

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   Respondent includes a footnote in his Response indicating that “[b]oth the Respondent and the child

   will testify that as soon as the child came to him on July 17, 2022, she complained about a severe

   pain in her shoulder and that the mother’s boyfriend pushed her to the ground during an argument

   with her mother.” Id.

           As stated above, Respondent should not be permitted to testify as to the Child’s statements

   because they are hearsay and because the Child was three years old.12 Respondent should also be

   precluded from providing lay testimony regarding the causation of the injury. Respondent,

   Respondent’s counsel, and all witnesses listed on Respondent’s witness list are lay witnesses who

   are not appropriately qualified experts and cannot testify about a medical diagnosis, treatment, and

   causation of a bodily injury. Each witness poses a risk of inadvertently offering statements

   regarding the cause of the Child’s alleged injury, even without any affirmative intention of making

   such statements. For example, a lay witness may be asked, “what is your understanding as to the

   Child’s injury?” to which the witness may respond, “her clavicle was fractured by Petitioner’s

   former boyfriend,” instead of simply, “her clavicle was fractured.” Causation testimony on a

   medical issue such as a fractured clavicle by a lay witness is inadmissible and should be excluded;

   and any testimony of the medical diagnosis must be supported by medical records and professionals.

   Any testimony about the causation of the Child’s alleged clavicle injury should be reserved for




   upon the Child following the July 17, 2022 abduction because Respondent abducted the Child and
   kept the Child secreted away from Petitioner from that point forward. Petitioner contends that the
   Child was not injured prior to Respondent’s violent and forceful abduction.
   12
      Any statements from the Child to Respondent or other fact witnesses regarding the alleged
   clavicle injury are impermissible hearsay evidence which should not be permitted at the
   Evidentiary Hearing. See Fed. R. Evid. 801(c). Any statements from the Child about how the
   alleged injury took place are textbook hearsay for which no hearsay exception exists. See Fed. R.
   Evid. 803. There is no exception permitting Respondent or any other non-medical witnesses under
   these circumstances from testifying about what the Child said to them.

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   expert witnesses only. See in re American Airlines Flight 331, 2013 WL 12340397, at *2 (S.D. Fla.

   Oct. 24, 2013) (“Medical diagnoses and medical causation opinions ordinarily present technical and

   scientific issues that require the specialized knowledge of an expert witness.”) (precluding the

   plaintiffs from testifying to any medical opinions, any technical matters beyond their knowledge,

   and to any out-of-court statements of medical professionals constituting inadmissible hearsay).

           Finally, testimony about the diagnosis and causation of the Child’s injury is irrelevant to the

   claims and defenses in this matter. Petitioner believes that Respondent will use the evidence in

   support of his “grave risk of harm” defense to argue that the Child cannot be around the Petitioner’s

   ex-boyfriend. Foremost, Petitioner’s ex-boyfriend did not assault the Child. Regardless, the

   evidence is irrelevant because case law regarding grave risk of harm is forward-looking only and

   Petitioner is no longer seeing or dating the man she was with as of July 17, 2022. See, e.g., Lopez

   v. Alcala, 547 F. Supp. 2d 1255, 1261-62 (M.D. Fla. 2008). Therefore, even assuming, arguendo,

   that Petitioner’s ex-boyfriend was a harm, which he is not, there is no “present” harm or danger to

   the Child sufficient for the defense to succeed.

           This Court should not allow Respondent, Respondent’s counsel, or Respondent’s lay

   witnesses to testify about the diagnosis, treatment, or causation of the Child’s alleged injury because

   such testimony is reserved only for expert witnesses and because it is not relevant. Petitioner also

   requests that the lay witnesses be warned on this instruction so that they do not inadvertently provide

   expert testimony as a lay witness.

   VII.    Conclusion

           WHEREFORE, Petitioner, Tercilmene Monera, respectfully requests that this Court grant

   its Omnibus Motion in Limine contained herein and enter an Order restricting Respondent,

   Respondent’s counsel, and any witnesses called by Respondent, from making any mention,



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   directly or indirectly, in any manner whatsoever, concerning the above-cited matters at any time

   during the Evidentiary Hearing.

                               LOCAL RULE 7.1 CERTIFICATION

           Pursuant to Local Rule 7.1(a)(3)(A), undersigned counsel certifies that Counsel for

   Petitioner, Suzanne Busser, Esq., conferred with Counsel for Respondent, Phillip Brutus, Esq.,

   via E-Mail on October 30, 2024, and Respondent opposes this Motion.

   Dated: October 30, 2024                            Respectfully submitted,
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                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on October 30, 2024, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF and that I have served a copy to Respondent’s
   counsel of record listed below.


                                               By:    s/Suzanne Busser
                                                      SUZANNE BUSSER


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